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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                      :
                                              :       Criminal No. 21-CR-245 (AJT)
               v.                             :
                                              :
IGOR Y. DANCHENKO,                            :
                                              :
                       Defendant.             :
                                              :

                         CONSENT MOTION TO
          ADJOURN THE PARTIES’ RESPECTIVE MOTION REPLY DATES

       The United States of America, by and through its attorney, Special Counsel John H.

Durham, with the consent of defense counsel, respectfully moves this Honorable Court to

adjourn the deadline for the filing of the parties’ respective replies to the motions previously

filed by one day. Currently, the replies are due September 22, 2022. The parties respectfully

request that the Court adjourn the due dates to September 23, 2022.

                                              Respectfully submitted,

                                              JOHN H. DURHAM
                                              Special Counsel

                                              By:

                                              /s/ Michael T. Keilty
                                              Michael T. Keilty
                                              Assistant Special Counsel
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                                              Brittain Shaw
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                                       Certificate of Service

       I hereby certify that on the 21st day of September, 2022, I electronically filed a copy of

the foregoing with the Clerk of the Court using the CM/ECF system, which will send a

notification of such filing (NEF) to all counsel of record.

                                              By:

                                              /s/
                                              Michael T. Keilty
                                              Assistant Special Counsel
                                              michael.keilty@usdoj.gov
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                        IN THE UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                     :
                                             :      Criminal No. 21-CR-245 (AJT)
               v.                            :
                                             :
IGOR Y. DANCHENKO,                           :
                                             :
                       Defendant.            :


                                             ORDER
       This matter having come before the Court on the United States’ Motion to Adjourn, and

with the consent of defense counsel, it is

       ORDERED that the parties’ respective replies to their previously filed motions shall be

filed by September 23, 2022.

Dated: September ___, 2022
       Alexandria, Virginia
                                             __________________________________
                                             The Honorable Anthony J. Trenga
                                             United States District Judge
